                            NUMBER 13-16-00378-CV

                            COURT OF APPEALS

                  THIRTEENTH DISTRICT OF TEXAS

                     CORPUS CHRISTI - EDINBURG
____________________________________________________________

ROSEMARY HALL, BSN, RN,                                                     Appellant,

                                           v.

DALLAS COUNTY HOSPITAL
DISTRICT, D/B/A PARKLAND
HEALTH AND HOSPITAL SYSTEMS,                        Appellee.
____________________________________________________________

             On appeal from the 126th District Court
                    of Travis County, Texas.
____________________________________________________________

                         MEMORANDUM OPINION
     Before Chief Justice Valdez and Justices Garza and Longoria
                  Memorandum Opinion Per Curiam

      Appellant, Rosemary Hall, BSN, RN, attempted to perfect an appeal from an order

granting a motion to transfer venue to Dallas County, Texas, entered by the 126th District
Court of Travis County, Texas, in cause number D-1-GN-15-005652.1 Upon review of

the documents before the Court, it appeared that the order from which this appeal was

taken was not a final appealable order. The Clerk of this Court notified appellant of this

defect so that steps could be taken to correct the defect, if it could be done. See TEX. R.

APP. P. 37.1, 42.3.       Appellant was advised that, if the defect was not corrected within

ten days from the date of receipt of this notice, the appeal would be dismissed for want

of jurisdiction. Appellant filed documents in response.

        Texas appellate courts have jurisdiction only over final orders or judgments unless

a statute permits an interlocutory appeal. Ogletree v. Matthews, 262 S.W.3d 316, 319

n.1 (Tex. 2007). An appeal from a trial court’s venue determination may not be reviewed

by interlocutory appeal. TEX. CIV. PRAC. &amp; REM. CODE ANN. §15.064(a) (West, Westlaw

through 2015 R.S.); Electronic Data Sys. Corp. v. Pioneer Elecs. (USA) Inc., 68 S.W.3d

254, 257 (Tex. App.—Fort Worth 2002, no pet.). Based on the record before us, it

appears that the trial court has not yet rendered a final judgment in trial court cause

number D-1-GN-15-005652.

        Appellant seeks to appeal from the trial court’s interlocutory order transferring

venue from Travis County to Dallas County. Accordingly, the appeal is DISMISSED

FOR WANT OF JURISDICTION. See id. 42.3(a). All pending motions are likewise

DISMISSED.

                                                         PER CURIAM



        1 This case is before the Court on transfer from the Third Court of Appeals in Austin pursuant to a

docket equalization order issued by the Supreme Court of Texas. See TEX. GOV'T CODE ANN. § 73.001
(West, Westlaw through 2015 R.S.).

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Delivered and filed the
2nd day of September, 2016.




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